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IN THE ClRCU|T COU§»£[`*OF '::I'ENNESSEE FOR THE
, TH!RT|ETH JUDEC§L DiSTR}CT A'[ MEN}PHES

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.. z dr &c"§.':;j L. ..__'.
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JAMES E SM|TH ANL`) ASTR|D SM!TH

Plaintiffs, ' ` FL/”\ ' -`

free a jj l,/i/' ¢_»,,¢]»

JURY DE|VIANDED

V. ` NO.
NAT¥ONW|DE !`\/]UTUAL FlRE iNSURANCE COMPANY,

Defendant.

 

COMPLA|NT

 

Corne now the plaintiffs Jarnes E. Smith and Astrid Smith (“The Srniths_”), by and
- through their attorney and for their cause of action against the defendant Nationwide
l\/!utual Fire insurance Company (“Nationwide"), respectfully state to the Court as
follows:
JUR|SD|CTION AND VENUE

'l. Jurisdiction is proper in this Court pursuant to Tenn. Code Ann. § 164 0-101'.

2. Venue is proper in this Court pursuant to Tenn. Code Ann. § 20~4~101 as ali
actions arose in Sheiby County. l

PARTlES

3. The plaintiffs Jarnes E. Srnith and Astrid Smith are adult residents and
citizens of Ariington, Shelby County, Tennessee. -

4. Tne defendant Nationwide is a foreign corporation Wnich`conducts business
and maintains an office in She|l:)y County, Tennessee. The defendant Nationwide, has
its principal place of business in Ohio and its registered agent for service cf process is

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EXH|B|T 1

 

 

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J.E. i<eitner1 626 E Broad Street, Colurnbus, Ohio, 43215. The defendant may-also be
served through the 'l'ennessee Commissioner of Commerce and lnsurance, 500 Jarnes
Rcbertson Parl<way, 5"‘ Fioor, Nashvilie, Tennessee 37243.

EA_Q_`|`_S_

5. On or about February, 2006, the Srniths entered into a homeowners
insurance contract with Nationwide (hereinafter “The Contract”) to cover their residential
horne located at 4527 New Airline Roaci in Arlington, Tenne_ssee. A true and accurate
copy of The Contract is attached hereto and incorporated herein by reference as
Exhibn 1. h '

6. Arnong the policy provisions in The Contract is a Property Coverage Section
(Section 1) vvhich covers the “residentiai dwelling" as-Wel! as “personal property owned
or used by the insured at the residence premises.”

7. Additional policy provisions in The Contract.include payments for “l_oss of
Llse" if a loss required the Smiths to leave the residential premises

8, The Contract also includes coverage for “Reasonable Repairs", “i-"roperty
Removed“ and “Household Supplies."

9. On N|arch 14', 2006, a fire originated in the garage at the Smith’s residence
and spread smoke and fire throughout the hcuse.

10. Aithough the fire department Was present, tire and smoke damage destroyed
everything in the Smlth’s home causing the Smiths to move out and to replace the

majority of their personai property.

 

 

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lt The Smlths timely filed a claim for damages With Nationvvide and Were put in
touch With Kristy Stewart (“lvls. Stevvart”), a Nationwlde adjuster located in She|by`
County, Tennessee.

12. l\/is. Stevvart gave the Smiths the name of an approved l\lationwide
contractor to assist in necessary repairs and rebuilding

13. The Smiths had to hire a moving company to remove some of the
salvageable personal property items from the horne and paid cut of pocket expenses for
this.

14. For 5-7 months, the Smiths obtained temporary housing at a local hotel.

15. The Smiths continued to subsequently submit to Nationwide timely insurance
claims for out of pocket living expenses and personal property losses

16. Nationwide initially began reimbursing the Smiths for these expenses
however reimbursements were consistently delayed and not timely.

17. |n approximately August, 2006, the Smiths Were'informed that their residence
at 4527 New Airllne Road had been repaired and restored from the fire and that the
home -Was habitable, and thus ready for them to move in.

'lB. When the Smiths arrived at their residencel to their shock, the residence Was
still covered vvith thick soot from the fire and not habitable.

19. After speaking with the adjuster, lvls. Stewart and the contractor, the Srniths
vvere assured by both Nationvvide and the contractor that they would “make it right.”

20. Several Weeks passed without any positive action taken by Nationvvide or
the contractor and the Smiths felt that their appeal to have the residence restored to a

habitabie condition Was ignored

 

 

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21. ,The Smiths then hired Servicel\/laster to come to the residence to remove
' the layer of soot and the Smiths paid the Servicelvlaster fees out ot their personal funds
22. The Srniths have also timely filed additional claims for personal property
losses as well as out of pocket costs for repairs to the residential dwelling
23. Nationwide has not reimbursed the Smiths for their out of pocket expenses
l'\/loreover, Nationwide'a|leges that some of the Smiths expenses are duplicates and
they Will not be reimbursed However, Nationwide has failed, and continues to fail1 to
specifically identify what are duplicate claims and therefore not coml:)ensablel
24.. The Smiths have communicated with Nationwide and made numerous
demands for payment and attempts to determine what has been paid by asking for an
accounting of all expenses Nationwide has paid to or on behalf of the Smiths.

25. To date, the Srniths have not received this information

 

26. Natlonwide’s agent has stated that Nationwide cannot determine What has
been paid because their records are disorganized and therefore confusing
COUNT l (BREACl-l Ol°-° CONTRACT}

- 271 Plaintiffs re-allege and incorporate Paragraphs Nc. 'l through 26, as if fully

 

set forth herein.

28. _The defendant has violatedl and thereby breached, the terms of its
Contract issued to the plaintiffs to cover fire damage to the dwelling and personal
property losses

29.The plaintiffs are entitled to payment of all coverage due under The Contract
including, but not limited to, out of pocket payment for expenses and loss of personal

property

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and refusal of Nationwide to pay this claim has inflicted additional expense ioss, cr
injury, including attorney fees, on the Smiths.
COUNT lll (VlOLATlON OF THE TENNESSEE CONSUNIER PR¢TECTlON ACT}

36. Plaintifis re-alleg-e and incorporate Paragraphs No. 'l through 26, as if fully
set forth herein.

37. At all times pertinent to this claim, the Tennessee Consumer Protection Act.
Tenn.rCode Ann. 47-lB-l01', et sed., was in full force and effect

38. 'i'he Tennessee Consurner Protection Act provides1 in part, as follows:

Any person who suffers an ascertainable loss of money or property, reall

personal, or mixed, or any other article, commodity, or thing of value

wherever situated, as a result of the use or employment by another person

of an unfair or deceptive act or practice declared to be unlawful by this

part, may bring an action individually to recover actual damages
Tenn. Code Ann. 47-18~‘| 09(a)(1)(2002).

39. Nationwide is guilty of unfair or deceptive acts or practices in that it sold to
tl'§te plaintiffs and collected insurance premiums under the homeowners policy yet it
refuses to pay benefits in accordance with the terms of The Contract, despite the
plaintiffs fire loss and despite the plaintiffs demand that Nationwide honor its contractual
obligations and commitments under The Contract. n

DAN]AGES AND PRAYER FOR REL|EF

VVHEREFORE, the plaintiffs pray that this Court enter a judgment against the
defendant as follows: l

l. Ordering Nationwide to pay to the plaintiffs the entire amount of dwelling

repairs and personal property out of pocket expenses due under The

Contract issued by Naticnwide in the amount of at least $66,224.35;

 

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2. Ordering Nationwide to pay to the pialntlffs’ prejudgment interest on ali
amounts awarded to them in this action;

3. Ordering Nationwide to pay an additional 25% pursuant to Te'nn. Code
Ann. 56-7-105(a) for its failure to make timely repairs and reimburse out of
pocket expenses in accordance with the terms of The Contract;

8. Ordering Nationwide to pay the costs of this cause including the Srniths
reasonable attorney fees; and

9. For all such further and general relief to which it may be entitled

RESPECTFULLY SUBM|TTED,

l-IARRlS HELTON HANOVER VVALSH, P. L L. C.

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